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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

ROBERT DAVID STEELE, et al.,

Plaintiffs,
v. Civil Action No. 3:17cv601
JASON GOODMAN, ef al.,

Defendants.

ORDER

This matter comes before the Court on its own initiative. Due to the circumstances
surrounding the COVID-19 outbreak, the Final Pretrial Conference, currently scheduled for
March 19, 2020, SHALL be continued. The Court ORDERS the Parties to appear for a separate
hearing on April 2, 2020 at 2:00 p.m. to resolve Defendant Jason Goodman’s Motion to
Disqualify Counsel, (ECF No. 171), as well as Plaintiffs Robert David Steele and Earth
Intelligence Network’s Motion in Limine, (ECF No. 157).

Per the order of Chief Judge Mark Davis, through Friday April 17, 2020, all jury trials—
both civil and criminal—in the Eastern District of Virginia are continued. Jury trials may be
continued beyond that date in light of changing circumstances. All bench trials are expected to
go forward at this time.

It is SO ORDERED.

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M. af Rauck

United Statés District Judge

Date: 3/13 /Ze
Richmond, Virginia
